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                     1   ALAN R. SMITH, ESQ.
                         Nevada Bar No. 1449
                     2   HOLLY E. ESTES, ESQ.
                         Nevada Bar No. 11797                                                               ELECTRONICALLY FILED
                     3   Law Offices of Alan R. Smith                                                           March 24, 2014
                         505 Ridge Street
                     4   Reno, Nevada 89501
                         Telephone (775) 786-4579
                     5   Facsimile (775) 786-3066
                         E-mail: mail@asmithlaw.com
                     6
                         Attorney for Debtors
                     7
                     8
                     9                                     UNITED STATES BANKRUPTCY COURT
                 10                                                      DISTRICT OF NEVADA
                 11                                                               —ooOoo—
                 12      In Re:                                                                Case No. BK-N-14-50333-BTB
                 13      ANTHONY THOMAS and                                                    Chapter 11
                         WENDI THOMAS,
                 14                                                                            ATTORNEY INFORMATION
                                             Debtors,                                          SHEET FOR PROPOSED ORDER
                 15                                                                            SHORTENING TIME
                 16                                                                            (No Hearing Required)
                 17      __________________________________/
                 18                As required by the Court under Local Rule 9006, my office provided notice or
                 19      attempted to provide notice to the following parties, or their counsel, of the attached
                 20      proposed Order Shortening Time for a hearing on the Debtors’ MOTION FOR
                 21      AUTHORITY TO PAY ORDINARY MONTHLY LIVING EXPENSES NUNC PRO
                 22      TUNC filed contemporaneously with this attorney information sheet. They agree or
                 23      disagree to the time being shortened, as indicated below:
                 24      NAME                                    HOW & WHEN                                   AGREE         DISAGREE
                 25      William B. Cossitt, Esq.                By email on                                    XX
                         Office of the United                    March 24, 2014
                 26       States Trustee
                 27      ///
                 28      ///
  Law Offices of
 ALAN R. SMITH
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Reno, Nevada 89501
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                           Case 14-50333-gs               Doc 21         Entered 03/24/14 11:26:56      Page 2 of 2



                     1   COMMENTS:
                            N/A
                     2
                         ESTIMATED TIME OF HEARING:
                     3
                                   15 Minutes.
                     4
                                   DATED this 24th day of March, 2014.
                     5
                                                                                     LAW OFFICES OF ALAN R. SMITH
                     6
                                                                                     By:     /s/ Holly E. Estes
                     7                                                                 HOLLY E. ESTES, ESQ.
                                                                                       Attorney for Debtors
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